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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA

   DANNY N. BRITTINGHAM,

          PLAINTIFF,

   VS.                                                   Case No.: 1:21-cv-00096-MU

   CONSUMER ADJUSTMENT COMPANY,
   INC.,

          DEFENDANT.



     PLAINTIFF’S STATEMENT OF FACTS AND LEGAL MEMORANDUM IN
   OPPOSITION TO THE DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         COMES NOW the Plaintiff and, in response and opposition to the Motion for Summary

Judgment filed by Defendant Consumer Adjustment Company, Inc. (“CACi”) submits the

following:

                                            INTRODUCTION

         In April of 2020, Plaintiff received a notification from a credit monitoring service, Credit

Karma, that Midwest Recovery LLC (“Midwest”) reported derogatory information about him on

his credit reports. According to Credit Karma, Midwest claimed that Plaintiff’s debt with National

Payday Loans was delinquent. However, Plaintiff never had an account with Midwest or with

National Payday Loans.

         After receiving this notification, Mr. Brittingham went online to check his credit score and

credit report and verified that CACi, masquerading as Midwest at the time, was falsely reporting
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an open “account in collection” of $444.00 with the original creditor listed as “National Payday

Loans.”

       According to the Federal Trade Commission (“FTC”), Midwest operated a scheme to

collect phantom debts by “parking” bogus debts and derogatory information on consumers’ credit

reports, including Mr. Brittingham’s. This practice was the subject of an enforcement action

brought by the FTC in the Eastern District of Missouri, Case number 4:20-cv-01674 on November

25, 2020. According to that Complaint, (Ex. One) Midwest and others:

       [O]perated a third-party debt collection business that pursues consumers for alleged
       debts, including debts that consumers do not actually owe. Defendants collect
       phantom payday lending debts, purported medical debts, and other debts that
       Defendants are consistently unable to verify. Since at least 2015, Defendants have
       reported to the CRAs more than $98 million in unauthorized or counterfeit payday
       loans, debts subject to unresolved fraud claims, debts in bankruptcy, debts in the
       process of being re-billed to a consumer’s medical insurance, and even debts that
       consumers already paid to Defendants. Defendants have continued to collect
       millions of dollars’ worth of these alleged debts despite being inundated with
       thousands of consumer complaints each month.

       The derogatory credit reporting was also false because the debt at issue had been sold to

CACi and was no longer owned by Midwest. On or about September of 2019 the assets of Midwest

were sold to CACi in a private transaction, and CACi continued the practices of Midwest in the

same or similar fashion. CACi continued to collect debts using the name “Midwest Recovery

Systems, LLC,” despite the transfer of the debts at issue from Midwest to CACi. The Motion for

Summary Judgment is due to be denied for several reasons as further set out below.

       STATEMENT OF RELEVANT FACTS AND EVIDENTIARY SUBMISSION

       1.     In April of 2020, Plaintiff received a notification from Credit Karma that Midwest

Recovery, LLC (“Midwest”) reported derogatory information about him on his credit report,

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stating that Plaintiff’s debt with National Payday Loans was delinquent. Plaintiff never had an

account with Midwest or National Payday Loans, and, therefore, did not owe either of them

anything. Ex. Two [Brittingham-CACi 000059, 000100, and 000105].

       2.      In June 2020, Mr. Brittingham filed a written dispute with Equifax and TransUnion

regarding Midwest’s Credit reporting. [Ex. Three Brittingham Dep. at p 26.]

       3.      Equifax deleted the Midwest account. However, TransUnion did not delete the

account and was still reporting it at the time this case was filed. Id.

       4.      Because of the actions undertaken in the name “Midwest,” Plaintiff filed Suit in

February of 2021, naming Midwest as Defendant. At that time Plaintiff was unaware of the

existence of CACi. [See Ex. Four Original Complaint].

       5.      The derogatory credit reporting was false because the debt at issue had been sold

to CACi and was no longer owned by Midwest as the assets of Midwest ha for collection pd been

purchased by CACi in September of 2019. [Ex 5 Deposition of Roger Weiss Page 14, Line 1-6].

See Ex. Five. Also, See also Ex. Six [Docket Sheets found on Pacer indicating use of the name

Midwest after the asset sale to Caci].

       6.      CACI continued to masquerade as Midwest even after this Suit was filed as

evidenced by its initial (false) Corporate Disclosure Statement in this case. See Doc 11.

       7.      Despite the September 2019 transfer of the debts at issue from Midwest to CACi,

CACi continued collecting debts using the name “Midwest Recovery Systems, LLC”. [Deposition

of Roger Weiss Page 37 Line 8-23]. See Ex. Five. Also, see also Ex. Six (Docket sheets).




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        8.      CACi also made false statements in its initial Corporate Disclosure Statement filed

on May 17, 2021. See Doc. 11. CACi continued to misrepresent its identity to the court and

Plaintiff until July 8, 2021. See Doc. 21. CACi also masqueraded as Midwest in at least the cases

listed in Ex. Six.

        9.      After the revelation that the defendant had been lying about its identity, both to

Plaintiff and the Court, “CACi,” eventually acknowledged ownership of the alleged debt.

Accordingly, Plaintiff filed a Joint Stipulation to Substitute Party Defendant, Change Case

Caption, and Dismiss Defendant Midwest Recovery Systems, LLC on July 8, 2021 [Doc 21]. An

Order was filed Granting the Joint Stipulation on July 13, 2021 [Doc Number 23].

        10.     According to Weiss, the name “Midwest” which was reported to consumer

reporting agencies, was not changed when the accounts from Midwest were put into CACi’s

system because it was too much trouble. Specifically, Weiss said CACi continued collecting using

the name Midwest because, “we continued business under that moniker until we were ready to

move business over, which that's a pretty heavy lift when there's several clients and electronic files

and file formats and testing, so that's how we ran business.” Ex. Five. Deposition of Roger Weiss

pp 37-38.

        11.     CACi eventually moved into the former offices of Midwest.             See Ex. Five,

Deposition of Roger Weiss Page 9 Line 10-11.

        12.     Mr. Weiss also testified that the debt at issue did not belong to CACi but belonged

to O'Brien Wexler, a “debt buyer.” See Ex. Five, Deposition of Roger Weiss pp 31-32. Weiss went

on to say that CACi stopped doing business with O’Brien Wexler in October 2020 because O’Brien


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Wexler had difficulty or was unable to verify debts it had placed with CACi for collection. Id. at

p 48 10-22.

        13.     It wasn’t until the middle of 2021 that CACi changed its credit reporting practices

and began attempting to contact the consumers before reporting derogatory remarks on their credit

reports [Ex. Five. Deposition of Roger Weiss Page 51 Line 10-16 and Page 63 Line 9-22].

        14.     On July 26, 2021, Plaintiff filed a Second Amended Class Action Complaint,

naming CACi as Defendant. See Doc 26.

                                      LEGAL ARGUMENT

   A.         THE DEFENDANT DOES NOT AND CANNOT MEET ITS HIGH BURDEN
              OF PROOF.

        The burden of proof in the present case is substantial, requiring the Defendant to meet a

high threshold in order to obtain summary judgment. The standard of review for a motion for

summary judgment is well-established in the Eleventh Circuit. Summary judgment is appropriate

only when "the pleadings, depositions, answers to interrogatories, and admissions on file, together

with the affidavits, if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to judgment as a matter of law" (Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986); see also Earley v. Champion Int'l Corp., 907 F.2d 1077, 1080 (11th Cir. 1990)).

        The Eleventh Circuit has consistently held that the Court's role at this stage is not to weigh

evidence or determine credibility, but rather to determine whether there is a genuine dispute of

material fact that necessitates a trial (Tolan v. Cotton, 572 U.S. 650, 656 (2014); see also Feliciano

v. City of Miami Beach, 707 F.3d 1244, 1252 (11th Cir. 2013)). Any doubts regarding the existence



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of genuine issues of material fact must be resolved in favor of the non-moving party (Adickes v.

S.H. Kress & Co., 398 U.S. 144, 157 (1970); see also Feliciano, 707 F.3d at 1252).

       Furthermore, it is essential to highlight that the Defendant bears the burden of proof in

seeking summary judgment. The Eleventh Circuit has consistently adhered to the Supreme Court's

precedent that the moving party has the burden of establishing the absence of a genuine issue of

material fact (Celotex Corp. v. Catrett, 477 U.S. at 323; see also Pritchard v. Southern Co. Servs.,

Inc., 92 F.3d 1130, 1133 (11th Cir. 1996)). This burden requires the Defendant to present evidence

that, when viewed in the light most favorable to the Plaintiff, demonstrates the absence of a genuine

dispute (Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50 (1986); see also Damon v. Fleming

Supermarkets of Florida, Inc., 196 F.3d 1354, 1358 (11th Cir. 1999)). Mere allegations or denials

in the pleadings are insufficient to meet this burden (Id. at 248).

       The burden on the Defendant is particularly weighty at the summary judgment stage, as it

necessitates the presentation of evidence that would be admissible at trial and sufficiently

establishes each element of the defenses asserted (Adickes v. S.H. Kress & Co., 398 U.S. at 157;

see also Damon, 196 F.3d at 1358). The Eleventh Circuit has emphasized that it is not the Court's

role to weigh conflicting evidence or make credibility determinations, but rather to assess whether

the Defendant has met its burden by presenting evidence that would permit a reasonable jury to

find in its favor (Tolan v. Cotton, 572 U.S. at 656; see also Reeves v. C.H. Robinson Worldwide,

Inc., 594 F.3d 798, 807 (11th Cir. 2010)).

       In light of the foregoing, the Plaintiff respectfully submits that the Defendant has failed to

satisfy its burden of proof to justify the grant of summary judgment. Material issues of fact remain


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unresolved, and the Defendant's motion must be denied. The Plaintiff requests that this Honorable

Court carefully consider the applicable standard of review and the substantial burden of proof on

the Defendant when evaluating the present motion.

B.      THE EVIDENCE SUPPORTS THE PLAINTIFF’S FCRA CLAIM.

        CACi argues (1) that its reporting was accurate; (2) the Plaintiff suffered no recoverable

damages and (3) there is no evidence of willfulness to support the punitive damages claims. None

of these arguments have merit because CACi:

        1.      Falsely and intentionally reported the bogus debts to credit bureaus using the name

Midwest;

        2.      Attempted to coerce Mr. Brittingham into paying the bogus debt by parking it on

his credit report, and,

        3.      Notwithstanding representations CACi made in its statement of facts, CACi

verified the accuracy of the bogus debt when Plaintiff filed his dispute with TransUnion. The debt

was “verified as accurate” by CACi even though it was falsely reported under the name of Midwest

on July 20, 2020. See Doc 62.1, Ex 11, CACi 0014. Filed under seal.

        Under the FCRA, when a consumer disputes information with a credit reporting agency,

the entity furnishing the information must “conduct an investigation with respect to the disputed

information.” 15 U.S.C. § 1681s-2(b)(1). The purpose of that investigation is to reach one of three

potential ending points: “verification of accuracy, a determination of inaccuracy or

incompleteness, or a determination that the information cannot be verified.” Hinkle v. Midland

Credit Management, Inc., 827 F.3d 1295, 1302 (11th Cir. 2016) (citation and internal quotation

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marks omitted). The investigation must be “reasonable” and the Eleventh Circuit has opined that

“‘reasonableness’ is an appropriate touchstone for evaluating investigations under § 1681s-

2(b).”Id. Diehl v. Money Source, Inc., 2018 WL 2995721, at *7 (S.D. Ala. June 13, 2018). See

also, Arianas v. LVNV Funding LLC., 132 F. Supp. 3d 1322, 1326 (M.D. Fla. 2015) (“ If a furnisher

receives notice of a customer's dispute from a credit reporting agency, the furnisher is required to

conduct “a reasonable investigation of their records to determine whether the disputed information

can be verified.” Johnson v. MBNA America Bank, NA, 357 F.3d 426, 431 (4th Cir.2004)”)”

         Under Section 1681n(a), a person who willfully fails to comply with any requirement

imposed under Section 1681s-2(b), is liable to the consumer for actual, statutory, or punitive

damages. Collins v. Experian Info. Solutions, 775 F.3d 1330, 1336 (11th Cir. 2015). Obviously,

the fact that CACi continued to report the loan in arrears when it knew, or should have known, that

the loan was bogus (that is, that it never existed at all), supports a willfulness claim under Section

1681n.

         A violation is willful where the furnisher either knowingly or recklessly violated the

requirements of the Act. Levine v. World Fin. Network Nat’l Bank, 554 F.3d 1314, 1318 (11th Cir.

2009) (citing Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 56-57 (2007)). Willfulness is established

with evidence that a furnisher verified credit information that it knew, or should have known, was

either false or unverified by its records. Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295,

1307 (11th Cir. 2016) (A reasonable jury could find that Midland either knowingly or recklessly

reported debts as “verified” without obtaining sufficient documentation to support that

determination). Here, CACi knew or should have known, that the debt was nonexistent (and it is

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estopped from arguing otherwise) when it verified the information. This is a sufficient basis for a

jury to find a willful violation of the FCRA.

       Finally, the FCRA allows for the recovery of pecuniary and non-pecuniary actual

damages. Levine v. World Fin. Network Nat. Bank, 437 F.3d 1118, 1124 (11th Cir. 2006)(“[a]

claim for actual or compensatory damages under FCRA may include compensation for emotional

distress in the absence of physical injury or out-of-pocket expenses”). See also Seamon v.

Vaughan, 921 F.2d 1217, 1219 (11th Cir. 1991) (“The parties may not contradict federal law by

private agreement”).

C.     THE EVIDENCE ALSO SUPPORTS PLAINTIFF’S FDCPA CLAIM.

       Congress enacted the FDCPA “to eliminate abusive debt collection practices by debt

collectors....” 15 U.S.C. § 1692(e). The FDCPA is a remedial statute, and its provisions

are to be liberally construed in favor of consumer debtors. Agrelo v. Affinity Mgmt. Servs., LLC,

841 F.3d 944, 950 (11th Cir. 2016); Bandy v. Midland Funding LLC, 2013 WL 210730, *5 (S.D.

Ala. Jan. 18, 2013). The FDCPA forbids certain conduct by debt collectors, including collecting

amounts not owed and making false representations in connection with the collection of any debt.

15 U.S.C. § 1692e and 1692f(1).

       The collection or attempted collection of the unowned amounts is a violation of 15 U.S.C.

§ 1692f(1). See, e.g., Justice v. Ocwen Loan Servicing, No. 2:13-CV-165, 2015 WL 235738, at

*11 (S.D. Ohio Jan. 16, 2015) (Ocwen, a debt collector, violated the FDCPA when it attempted to

collect amounts in excess of those due under a loan modification).




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       The FDCPA also prohibits “[c]ommunicating or threatening to communicate to any person

credit information which is known or which should be known to be false.” 15 U.S.C.A. §

1692e(8). At all relevant times, CACi knew, or should have known, that any information reported

to the credit bureaus indicating that the debt at issue arrears was false. Yet CACi continued to

report the bogus loan. This false representation is a violation of FCRA Section 1692e(8). See, e.g.,

Hinkle v. Midland Credit Mgmt., Inc., CV 313-033, at *17 (S.D. Ga. Jan. 6, 2015) (“Debt collectors

may not falsely represent the character, amount or legal status of any debt, nor may they

communicate to any person credit information which is known or which should be known to be

false, including the ‘failure to communicate that a disputed debt is disputed.,”’).

       The FDCPA further prohibits collecting under a false name. The plain language of the

FDCPA states in Section 807, codified at 15 U.S.C. Section 1692e(14), that it is false or misleading

for a debt collector to use “any business, company, or organization name other than the true

name of the debt collector's business, company, or organization.” (Emphasis added.) See Leonard

v. Zwicker & Assocs., P.C., No. 17-10174, at *7 (11th Cir. Nov. 1, 2017) (“[T]he FDCPA prohibits

a debt collector from using any name’ other than the true name of the debt collector's business,

company, or organization.’ 15 U.S.C. § 1692e(14)”)).

       CACi’s “true name” is Consumer Adjustment Company, Inc., and it from time to time also

uses the acronym CACi, as both Plaintiff and Defendant have done in these submissions. CACi is

not, however, Midwest, Midwest Recovery Systems, or Midwest Recovery Systems, LLC. CACi

alleges that, through an Asset Purchase Agreement, it bought the “DBA” name of Midwest

Recovery. See Weiss Dep., p. 37, ll. 14-22. But for a debt collector to use any name aside from its


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“true name,” for example, a “DBA name,” or “trade name,” the debt collector must have registered

the DBA or trade name with any state in which it conducts business. CACi has not registered the

name “Midwest Recovery” or any variation thereof as a trade name or d/b/a name with the

Alabama Secretary of State. See Exhibit *, Business Entity Record, https://arc-

sos.state.al.us/cgi/corpdetail.mbr/detail?corp=000574279&page=name&fi. Moreover, CACi has

not even asserted here that it ever registered Midwest Recovery as a trade name, whether in

Alabama or anywhere else. “Midwest Recovery Systems, LLC” remains registered with the

Alabama Secretary of State, but Roger Weiss testified that neither he nor CACi owns that LLC.

See Weiss Dep., p. 37, ll. 14-22. CACi appears to have proceeded under the legally insufficient

assumption that if it contracted with Midwest Recovery Systems, LLC, to use the name “Midwest

Recovery” as a DBA name or trade name, that also conferred the legal right to use the name to

collect debts. It did not. “If [a] statute is otherwise within the powers of Congress, [] , its application

may not be defeated by private contractual provisions.” Connolly v. Pension Benefit Guaranty

Corp., 475 U.S. 211, 224, 106 S.Ct. 1018, 1025, 89 L.Ed.2d 166 (1986).” United States v. Blue

Cross/Blue Shield of Alabama, 999 F.2d 1542, 1547 (11th Cir. 1993)

        Here the “least sophisticated consumer” standard applies to the confusing, deceptive,

indeed, fraudulent, use by CACi of the Midwest name. See Pinson v. JPMorgan Chase Bank, Nat'l

Assoc., 942 F.3d 1200, 1209 (11th Cir. 2019) (“We now join the Second and Seventh Circuits and

hold that the false-name exception applies when the ‘least sophisticated consumer' would believe

a third party was involved in collecting a debt.”). The least sophisticated consumer “possess[es] a

rudimentary amount of information about the world and a willingness to read a collection notice

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with some care.” LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193-94 (11th Cir. 2010).

The collection notice should be clear enough that a naïve consumer comes away from the notice

understanding the identity of the creditor. See Bourff v. Rubin Lublin, LLC, 674 F.3d 1238, 1241

(11th Cir. 2012). Moreover, the question of whether the least sophisticated consumer would be

confused or misled by a debt collector's communication is one for the jury. Miljkovic v. Shafritz &

Dinkin, P.A., 791 F.3d 1291, 1307 n.11.

       In a 2018 decision from the Third Circuit, the Court found that a debt collector violated the

FDCPA by leaving a voicemail identifying itself as “ARS” instead of its real name. “Healthcare

Revenue Recovery Group, LLC. “Levins v. Healthcare Revenue Recovery Grp. LLC, No. 17-333

2018 WL 3999888, at*1 (3rd Cir. Aug. 22, 2018). Id. Healthcare Revenue Recovery Group, LLC

claimed that its voice message was not false or misleading under the FDCPA because it did have

a registered d/b/a in that state for the name “ARS Account Resolution Services,” so it moved to

dismiss the debtor’s complaint for failure to state a claim under Fed. R. Civ. P. 12(b)(6). Id.

       The Levins’ Court adopted the FTC’s guidance regarding the “true name” requirement of

§ 1692e(14) to permit a debt collector to “use its full business name, the name under which it

usually transacts business, or a commonly-used acronym,” as long as “it consistently uses the same

name when dealing with a particular consumer.” Id. at *4.

       Against this backdrop, the court disagreed with the defendant’s argument that its use of

“ARS” in debt collection voice messages to the debtor was permissible as its “true name” because

“ARS” was not Healthcare Revenue Recovery Group, LLC’s full business name, and it was not

the name under which it usually conducted business or a commonly used acronym of “ARS


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Account Resolution Services.” Id. at *4. Instead, the Court found, Healthcare Revenue Recovery

Group, LLC did not have a d/b/for the stand-alone name “ARS,” and a search for “ARS” identifies

a plethora of other debt collectors other than Healthcare Revenue Recovery Group, LLC. Id.

Accordingly, the court found that the debtor was able to state a claim for violation of Section

1692e(14).

       The facts in the present case point to even clearer liability for CACi than those of Levans.

Here, CACi has not even argued that it registered any DBA name similar to Midwest Recovery in

Alabama, nor has it argued that Midwest Recovery is its “true name.”

       For these reasons, CACi is not entitled to summary judgment.

                                            CONCLUSION

       For all the reasons stated above, the Defendants’ Motion for Summary Judgment is due to

be denied.

       Respectfully submitted this the 31st day of May 2023


         /s/ Earl P. Underwood, Jr.                 /s/Steven P. Gregory
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed using the CM/ECF

system, which will send a notification to all Counsel of record this 31st day of May 2023.




                                                    /s/ Earl P. Underwood, Jr._
                                                    Earl P. Underwood, Jr.




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